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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Mon Cheri Bridals, LLC                         )
                                               )
v.                                             )   Case No.       19-cv-2362
                                               )
Does 1-464                                     )   Judge:         Hon. Jorge L. Alonso
                                               )
                                               )   Magistrate:    Hon. Young B. Kim
                                               )


                            SATISFACTION OF JUDGEMENT

       Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe         Store Name                              Store ID
        53   htswedding                              57fccbba196a793f002bad5a
        74   langweigarmenttradingcoltd              5438c97c90c776265b2e24a7
       112   qianshanwanyuanqimao                    564bd2e9d4edf311433f466f
       164   caiaiwedding                            581dd299e28cba4d0584a60b
       193   dvfdgf                                  58c259fdca6f9a5074416dc8
       240   hanqidress180                           5b629265299c7e3db17cf86d
       275   juybsabar                               583155a70d446310bcfe9f52
       283   laoyiren                                59ca0a1f15da072e0f66d3e2
       296   hangzhoulangweigarmenttradingcoltd      542a1d72ebff483c1ad0c8b3
       304   mensher                                 5988614d9fbc517e603c4626
       350   qq888                                   582949b4fef40931187c4308
       356   roly                                    597360c660b5b24cddb7ab68
       364   shafa                                   57458e1963a7355e90fc6e7a
       391   terbuer                                 575cfe470551415caa5505b5
       415   wmenplussize                            5a2f4a7d12fa1c097e3df207
        21   BessWedding                             A1P6HXRYMADBBX
       108   smartree                                57862a0a94bcf1439ce281fe
       441   adasbridal                              A2V2BL6SSQOBO9



dismisses them from the suit with prejudice.
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Dated this 23rd Day of October 2019.   Respectfully submitted,


                                       By:      s/David Gulbransen/
                                              David Gulbransen
                                              Attorney of Record
                                              Counsel for Plaintiff

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